                                  Case 5:21-cv-01639-SVW-KK Document 7 Filed 09/23/21 Page 1 of 1 Page ID #:58




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                                   4                                UNITED STATES DISTRICT COURT
                                   5                           NORTHERN DISTRICT OF CALIFORNIA
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                                         THOMAS ARTHUR GANDARA,
                                   7                                                    Case No. 21-cv-06523-JCS (PR)
                                                       Plaintiff,
                                   8
                                                 v.                                     ORDER OF TRANSFER
                                   9
                                         GAVIN NEWSOME, et al.,
                                  10
                                                       Defendants.
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                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff’s 42 U.S.C. § 1983 claims arise from events that occurred in Riverside
                                  14   County, which lies in the Central District of California. Accordingly, this action is
                                  15   TRANSFERRED to the Central District of California wherein venue properly lies because
                                  16   a substantial part of the events or omissions giving rise to the claims occurred there, and
                                  17   the named defendants reside in the Central District. See 28 U.S.C. §§ 84(c), 1391(b), and
                                  18   1406(a). The Clerk shall transfer this action forthwith.
                                  19          IT IS SO ORDERED.
                                  20   Dated: September 23, 2021
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                                                                                        JOSEPH C. SPERO
                                  22                                                    Chief Magistrate Judge
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